                                                                         FILED
            Case 6:17-cr-00007-SEH Document 204 Filed 09/25/17 Page 1 of 1
                                                                          SEP 25 2017
                                                                       Clerk, U.S. District Court
                                                                         District Of Montana
                  IN THE UNITED STATES DISTRICT COURT                           Helena
                      FOR THE DISTRICT OF MONTANA
                            HELENA DIVISION

UNITED STATES OF AMERICA,                         CR 17-07-H-SEH

                           Plaintiff,             ORDER

          vs.

JEFF ALLEN TRASK,
CHASE RYAN STORLIE,
HECTOR RICARDO GONZALEZ,
and CHRISTIAN JESUS RUIZ,

                           Defendants.

      Defendant Hector Ricardo Gonzalez's ("Gonzalez") Unopposed Motion to

Continue Sentencing Hearing' is GRANTED. The hearing set for September 28,

2017, is VACATED and RESET for October 11, 2017, at 10:00 a.m.

      The clerk is directed forthwith to notify counsel, the probation office and

the United States Marshals Service of the entry of this Order.

      DATED this d5 th day of September, 2017.



                                        ~D~~,,.J
                                        United States District Judge


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          Doc. 202.

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